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IN THE UN|TED sTATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 95 ,JUN -3 pM h, 16
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Plaimiff,
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NO.: 04-2464-D-An

JOHN E. POTTER, POSTMASTER
GENERAL, U.S. POS'I`AL SERVICE,

Defendant.

 

RULE 16(b) sCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates were

established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): JUNE 29, 2005

JOINING PARTIES:
for Plaintiff: AUGUST ]8, 2005
for Defendant: AUGUST 18, 2005
AMENDING PLEADINGS:
for Plaintiff: AUGUST 18, 2005
for Defendant: AUGUST 18, 2005
lNITlAL MOTIONS TO DISMISS: SEPTEMBER 6, 2005

COMPLETING ALL DISCOVERY:

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSIONS: FEBRUARY ]7, 2006

This document entered en the docket,$heet Compliance
with time 55 and/orrg(a) FHCP on " ¢ O

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(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: DECEMBER 19, 2005
(ii) Defendant’s Experts: JANUARY 18, 2006
(iii) Supplementation under Rule 26(e): JANUARY 25, 2006

(c) DEPOSITIONS OF EXPERTS: FEBRUARY 17, 2006

FILING DIsPosmvE MoTioNs; MARCH 17, 2006
FINAL LisTs oF WITNESSES AND ExHIBITs (Ruie 26(3)(3));

(a) for Plaintiff: 45 Days Prior to Trial
(b) for Defendant: 30 Days Prior to Trial

Parties shall have l0 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 3 days. The presiding judge will set this

matter for NON-JURY TRIAL. ln the event the parties are unable to agree on a joint pretrial
order, the parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

lnten'ogatories, Requests for Production and Requests for Admi.ssions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection Wliich is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer Shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a

proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party

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may file an additional reply, however, without leave of the court. lf a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

At this time7 the parties have not given consideration to whether they wish to consent to
trial before the magistrate j udge. The parties will file a written consent form with the court
should they decide to proceed before the magistrate judge.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close afdiscoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT lS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: dd: ;»70¢|.|f

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02464 was distributed by faX, mail, or direct printing on
.lune 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

